             Case MDL No. 3056 Document 55 Filed 02/01/23 Page 1 of 4




                             UNITED STATES JUDICIAL PANEL
                                          on
                              MULTIDISTRICT LITIGATION


IN RE: KEYBANK CUSTOMER DATA
SECURITY BREACH LITIGATION                                                             MDL No. 3056


                                       TRANSFER ORDER


         Before the Panel: * Plaintiffs in the Western District of Pennsylvania action move under
28 U.S.C. § 1407 to centralize this litigation in the Western District of Pennsylvania. This
litigation consists of six actions pending in three districts, as listed on Schedule A. Since the filing
of the motion, the Panel has been notified of four related actions. 1

         All responding parties support centralization but disagree as to the transferee district.
Plaintiffs in the two constituent Northern District of Ohio actions suggest centralization in that
district. Plaintiffs in the three constituent Northern District of Georgia actions suggest
centralization in that district. Defendants KeyBank, N.A., and KeyCorp. (together, KeyBank) and
Overby-Seawell Company (OSC) support centralization in the Northern District of Georgia, and
OSC alternatively supports the Northern District of Ohio as transferee district. Plaintiffs in one
Northern District of Georgia action and KeyBank suggest renaming the litigation to reflect that
OSC is the main defendant in this litigation.

         On the basis of the papers filed and the hearing session held, we find that these actions
involve common questions of fact, and that centralization in the Northern District of Georgia will
serve the convenience of the parties and witnesses and promote the just and efficient conduct of
this litigation. These actions—all of which are putative nationwide class actions—share factual
issues relating to a July 2022 incident in which an “unauthorized external party” gained remote
access to OSC’s network and acquired certain personally identifiable information of OSC’s
financial institution clients’ customers. OSC is a technology services vendor for financial
institutions that provides ongoing verification that the institutions’ residential mortgage customers
are maintaining required property insurance. All plaintiffs allege that OSC failed to maintain
adequate security measures, and they assert similar claims including for negligence, negligence
per se, and breach of contract. Common factual issues will include how OSC’s system was


*
       One or more Panel members who could be members of the putative classes in this litigation
have renounced their participation in these classes and have participated in this decision.
1
        These and any other related actions are potential tag-along actions. See Panel Rules 1.1(h),
7.1, and 7.2.
             Case MDL No. 3056 Document 55 Filed 02/01/23 Page 2 of 4




                                                -2-

breached, what security measures OSC had in place to protect against such a breach, what
information was compromised in the breach, and whether OSC provided timely notice of the
breach to its financial institution clients. Centralization will eliminate duplicative discovery;
prevent inconsistent pretrial rulings, including with respect to class certification and Daubert
motions; and conserve the resources of the parties, their counsel, and the judiciary.

         No party disputes that the actions involve common factual and legal issues, and that
centralization is warranted. But there are some questions as to the appropriate scope of this
litigation. While all actions included in the motion for centralization involve claims against OSC
and one of its financial institution clients (KeyBank), the Panel has been notified of two related
actions brought against OSC and another financial institution client (Fulton Bank). These actions,
like the actions before the Panel, allege that the financial institution defendants negligently
entrusted plaintiffs’ and putative class members’ personal information to OSC. During briefing,
no party argued that the actions naming financial institutions other than KeyBank should be
excluded from the MDL, while some responding parties explicitly advocated in favor of their
inclusion and requested the MDL be renamed to reflect that OSC is the common defendant. At
oral argument, counsel for plaintiffs in favor of centralization in the Northern District of Ohio
argued that the actions naming Fulton Bank should not be included in the MDL. We are inclined
to believe that the MDL should include all actions naming OSC and involving its July 2022 data
breach, regardless of which, if any, financial institution is named as a co-defendant. But we do
not reach that issue, as none of the actions naming Fulton Bank are presently before the Panel.
Arguments concerning the inclusion of any non-KeyBank cases filed outside the transferee district
will be considered in due course through the conditional transfer order process. See Panel Rules
1.1(h), 7.1 and 7.2. We are persuaded at this time that the litigation should be renamed to reflect
that the entity whose system was breached was OSC, not KeyBank.

         The Northern District of Georgia is an appropriate transferee forum for this litigation. Five
of the ten actions now pending are in this district before Judge Stephen D. Grimberg, and several
plaintiffs and both OSC and KeyBank support centralization there. And since OSC is
headquartered there, relevant evidence and witnesses likely will be in this district. Judge Grimberg
is a skilled jurist who has not yet had the opportunity to preside over an MDL. We are confident
that he will steer this litigation on a prudent course.

       IT IS THEREFORE ORDERED that the actions listed on Schedule A and pending outside
the Northern District of Georgia are transferred to the Northern District of Georgia and, with the
consent of that court, assigned to the Honorable Stephen D. Grimberg for coordinated or
consolidated pretrial proceedings.

      IT IS FURTHER ORDERED that the caption of this litigation is changed from “In re:
KeyBank Customer Data Security Breach Litigation” to “In re: Overby-Seawell Company
Customer Data Security Breach Litigation.”
Case MDL No. 3056 Document 55 Filed 02/01/23 Page 3 of 4




                           -3-

                      PANEL ON MULTIDISTRICT LITIGATION




                                     Karen K. Caldwell
                                         Chair

                   Nathaniel M. Gorton           Matthew F. Kennelly
                   David C. Norton               Roger T. Benitez
                   Dale A. Kimball               Madeline Cox Arleo
        Case MDL No. 3056 Document 55 Filed 02/01/23 Page 4 of 4




IN RE: KEYBANK CUSTOMER DATA
SECURITY BREACH LITIGATION                                    MDL No. 3056


                                     SCHEDULE A


         Northern District of Georgia

    SAMSEL v. OVERBY−SEAWELL COMPANY, ET AL., C.A. No. 1:22−03593
    MARLOWE v. OVERBY−SEAWELL COMPANY, ET AL., C.A. No. 1:22−03648
    ARCHER, ET AL. v. OVERBY−SEAWELL CO., ET AL., C.A. No. 1:22−03780

         Northern District of Ohio

    BOZIN v. KEYBANK, N.A., C.A. No. 1:22−01536
    URCIUOLI, ET AL. v. KEYBANK NATIONAL ASSOCIATION, ET AL.,
         C.A. No. 1:22−01598

         Western District of Pennsylvania

    MARTIN, ET AL. v. KEYBANK NATIONAL ASSOCIATION, ET AL.,
        C.A. No. 2:22−01346
